






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00261-CV






In re American International Specialty Lines Insurance Company






ORIGINAL PROCEEDING FROM TRAVIS COUNTY




M E M O R A N D U M   O P I N I O N



	Relator American International Specialty Lines Insurance Company's petition for 
writ of mandamus is denied, and its motion for temporary relief is dismissed.  See Tex. R. App. P.
52.8(a), 52.10.



					                                                                                     
					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Filed:   October 17, 2008


